         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2023-0534
                 LT Case No. 2020-CF-006728-A
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LAWRENCE PENLEY SMITH,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Duval County.
Mark Borello, Judge.

Matthew J. Metz, Public Defender, and Louis A. Rossi, Assistant
Public Defender, Daytona Beach, for Appellant.

Ashley Moody, Attorney General, and Kristie Regan, Assistant
Attorney General, Tallahassee, for Appellee.


                        August 20, 2024


PER CURIAM.

    AFFIRMED.


MAKAR, LAMBERT, and BOATWRIGHT, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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